    Case 3:06-cr-00013-HES-MCR Document 119 Filed 08/15/06 Page 1 of 1 PageID 272



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION
                                                                             2215 't'S ( 5 r P 2: 2 0
                                                                            * & - - ,   ,   ,
                                                                                                ,-   - 9 ,   ,-
    UNITED STATES OF AMERICA

    v.                                                     Case No. 3 :06-cr-13-J-20MMH
\
    LISA CROWELL


                                            ORDER

           The United States' Motion Pursuant to USSG 5 3El.l(b) (Doc. No. 113, filed August 9,

     2006) is GRANTED.

           DONE AND ORDERED at Jacksonville, Florida, this / f 6 d a y of August, 2006.




     Copies to:
     Kate Kmiec, Esq.
     Mark J. Rosenblum, Esq.
     U.S. Probation
